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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

PIERRE FATTOUCH                                        :
                                                       :
MOUSSA FATTOUCH                                        :
                                                       :
UNITED LEBANESE QUARRIES AND         :
CRUSHERS COMPANY S.A.L.              :
                             Plaintiffs
                                     :                        Case No.: 1:20-CV-02599-EGS
v.                                   :
THE REPUBLIC OF LEBANON,             :
Its Ministries, Agencies, and Instrumentalities
                                     :
c/o Ministry of Justice              :
                                     :
HER EXCELLENCY MARIE-CLAUD NAJIM :
Minister of Justice                  :
                    Defendant State. :


         PLAINITFFS RESPONSE TO DEFENDANTS’ MOTIONS TO DISMISS
               AMENDED COMPLAINT AS TO ALL DEFENDANTS
                       AND FOR ADDITIONAL RELIEF

       COMES NOW. Plaintiffs, Pierre Fattouch, Moussa Fattouch, and United Lebanese

Quarries and Crushers Company, S.A.L. (“plaintiffs”) and respectfully moves this Court to deny

the Second Supplemental Motion to Dismiss or Alternatively to Quash Attempted Service and

relief requested by the defendants. In support of their motion, Plaintiffs states as follows:

       1. Plaintiffs filed an amended Complaint on March 15, 2021. The amended Complaint

addressed the concerns and issues that the defendant The Republic of Lebanon alleged were a

basis for dismissal of the initial Complaint. In sum, the plaintiffs discuss facts that support both

the waiver of sovereign immunity by the defendants), and the basis for both the inclusion of

Minister of Justice, Marie-Claud Najim in the Amended Complaint, and the assertion by the

plaintiffs that service of process was done as agreed by the parties.

       2. Plaintiff’s incorporate herein the prior responses to the defendants’ motions to dismiss.




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       3. Defendants jointly seek dismissal of the amended Complaint on the following grounds

in their Second Supplemental Motion to Dismiss or Alternatively to Quash Attempted Service:

               A. This Court lacks personal jurisdiction over the defendants because service has

not been made in compliance with the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §

1608(a)(3), with respect to the defendant Republic of Lebanon, and Federal Rule of Civil

Procedure 4, with respect to the Minister of Justice. Note, defendant Marie-Claud Najim is sued

as a foreign state as defined in 28 U.S.C. 1603(b)(1).

               B. Incorporation by reference of other grounds presented in prior defense motions

to dismiss. (Accordingly, those grounds will not be addressed here as plaintiffs have responded

to those claims in earlier responsive filings).

       4. Regarding the issue of service of process, plaintiffs submit that service of the initial

Complaint and summons was effective. Upon filing the Amended Complaint, plaintiffs inquired

of counsel for the defendants whether, in accordance with Federal Rule of Civil Procedure 4(d),

whether defense counsel would accept service on behalf of their clients. Defense counsel

declined and advised that they were not authorized to accept service of the Amended Complaint

by the defendants. Plaintiffs have engaged the service of process specified in 28 U.S.C. 1608 and

completed service in accordance with the requirements of 28 U.S.C. 1608(a)(3) and (b)(3)(B).

Defendants now make the factual dispute that the service did not include required documents,

specifically the Notice of Suit and a copy of the FISA. This is inaccurate. All required documents

were provided to the Clerk of Court for inspection prior to the Clerk sealing the packages and

delivering directly to DHL for shipment.

       5. The attached Memorandum of Law is incorporated herein by reference.




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       WHEREFORE, for the reasons set forth above, the plaintiffs respectfully request that

the Court deny the defendant’s Second Supplemental Motion to Dismiss or in the Alternative to

Quash Attempted Service for the reasons requested therein.

                                                   Respectfully submitted,

                                                      /s/_______________________
DATE: November 16, 2021                            Jeremy H. Gonzalez Ibrahim
                                                   Poblete Tamargo, LLP
                                                   510 King Street
                                                   Suite 340
                                                   Alexandria, VA 20036
                                                   703−566−3037

                                                     /s/_______________________
                                                   Jason Poblete
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                                                     /s/_______________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the attached filing and memorandum of law was served

upon the below listed individual(s) via ECF.

Carmine D. Boccuzzi, Jr cboccuzzi@cgsh.com

Rathna Ramamurthi rramamurthi@cgsh.com

                                                          Respectfully submitted,

                                                          /s/_______________________
DATE: November 16, 2021                                      Jeremy H. Gonzalez Ibrahim
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                                                          /s/_______________________
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